>

TOPS ETSY cy- Br Ls pa LAA Bricé SSONSOl IS FF 2
JO\ ) SAN SACinto SfrectC HACC S Coc nty)

Roaster 1X7 2008.

er ~ Hh aS Coonty

_Ss oe of. lear O-§ District Coot. dkerK

Sb

& On oAW 9 _the Harris CoteatyZ

go

J Shee clept beatme ue At lO Rm

in Ol | 3p3 Ocly cortlansentL had made

Le complaint-te eternal aFRairs of

LACS Coanty Shr lO de Pt. Abowk YATIUS

Sifagtrer/ ao bout Lh Shire Fed ent mis—

Hreatingme,.Lha Ut ootten My inche,

mi tc< HO \ tee! the teria ottak-S fetel|

them how Lave heen miss treated. £

Sucker from servere mental (INS and

Ser Seat [rv NZIS One. ot the. MNCLN MER

thot tomeS jh abkleran, + P6d& mIS—

treating bicteran Linnartes » Lknou)

that tisha, been SpLAS en r yor

phere Na 3 been harsh Ah VHS torrdrty ruts

(NACL E County il ph wrehaye.

\Noheat bis td Ane No hotuater-(r

the Shower lily Cel kights have bea!

Violeked La ant 2 Lleaciy Light conplra F)

(Aa ont tO Ge fori me, pal tron ¢ cenpenl sel f4D
() 20h Rup

Case 4:23-cv-00547 Documenti1 Filed on 02/08/23 in TXSD

HARRIS COUNTY ?
Name sae s ce JAIL

J Aiecie.
INDIGENT

FRO,

Sp O17 0S

=< ers ede ee a
J a a Bienes ae Pent
peal

PORETs 4 BFiafes
elppeel if

Page 2 of 2

i eS ZF 77°02 § 000.60°

ot: - 0000368784 FEB 06. 2023

Box X GlOleo
Hous OA), | Ik oS QIO

i
Hp tH Hpuply i733 Bu HN i

